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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION

                                                           Case No: 8:19-bk-08962-RCT
 In Re:                                                    Chapter 13


 GORDON ALAN SPICER
 JERLYN BUTALON SPICER
                                           /

                                          REPORT OF UNCLAIMED FUNDS

          After making distributions of monies received in this case, the Chapter 13 Standing Trustee states that all checks

 issued prior to March 31, 2020, have cleared with exception of the following:


      Check Number                           Amount                             Claimant Name & Address
       118631                               $3,240.00                        Gordon Alan Spicer & Jerlyn Butalon Spicer
                                                                             1409 Sunnyhills Dr.
                                                                             Brandon, FL 33510
          118632                            $2,700.00                        Gordon Alan Spicer & Jerlyn Butalon Spicer
                                                                             1409 Sunnyhills Dr.
                                                                             Brandon, FL 33510


          Pursuant to the provisions of 11 U.S.C. Section 347, the Trustee submits these funds totaling $5,940.00 for this

case, which is payable to Clerk, U.S. Bankruptcy Court/Court Registry.

Dated: May 19, 2020.




                                               /s/ Kelly Remick
                                               Kelly Remick
                                               Chapter 13 Standing Trustee
                                               P.O. Box 6099
                                               Sun City Center, FL 33571-6099
                                               Phone (813) 658-1165
                                               Fax (813) 658-1166




Cc: Clerk, U.S. Bankruptcy Court/Court Registry
